               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 1 of 42 Page ID #:1




                   1   BRIDGFORD, GLEASON & ARTINIAN
                       Richard K. Bridgford (CA SBN 119554)
                   2   Richard.Bridgford@Bridgfordlaw.com
                       Michael H. Artinian (CA SBN 203443)
                   3   Mike.Artinian@Bridgfordlaw.com
                       26 Corporate Plaza, Suite 250
                   4   Newport Beach, CA 92660
                       Telephone: (949) 831-6611
                   5   Facsimile: (949) 831-6622
                   6   COOLEY LLP
                       William V. O'Connor (CA SBN 216650)
                   7   woconnor@cooley.com
                       4401 Eastgate Mall
                   8   San Diego, CA 92121-1909
                       Telephone: (858) 550-6000
                   9   Facsimile: (858) 550-6420
               10      COOLEY LLP
                       J. Parker Erkmann (Pro hac vice to be filed)
               11      perkmann@cooley.com
                       1299 Pennsylvania Avenue, NW, Ste. 700
               12      Washington, DC 20004-2400
                       Telephone: (202) 776-2036
               13      Facsimile: (202) 842-7899
               14      Attorneys for Plaintiffs Delux Public Charter, LLC d/b/a
                       JSX Air and JetSuiteX, Inc.
               15
               16                         UNITED STATES DISTRICT COURT
               17         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
               18
               19      DELUX PUBLIC CHARTER, LLC D/B/A                No.
               20      JSX AIR AND JETSUITEX, INC.,
                                                                      Hon.
                                                     Plaintiffs,
               21                                                     COMPLAINT FOR
                            v.
                                                                      DECLARATORY AND
               22                                                     INJUNCTIVE RELIEF
                       COUNTY OF ORANGE, CALIFORNIA, a
               23      charter county; BARRY RONDINELLA in his Demand for Jury Trial
               24      official capacity as Airport Director of John
                       Wayne Airport,
               25
                                                     Defendants.
               26
               27
               28
COOLEY LLP
ATTORNEYS AT LAW                                               1
   SAN DIEGO
                                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 2 of 42 Page ID #:2




                   1                                NATURE OF ACTION
                   2         1.     Since 2018, Plaintiff Delux Public Charter, LLC d/b/a JSX Air (“JSX”)
                   3 (a small, highly-rated, on-demand air carrier) has provided innovative, safe,
                   4 economical, and federally authorized air transportation services at John Wayne
                   5 Airport (“JWA” or “Airport”). Plaintiff JetSuiteX, Inc. (“JetSuiteX”) partners with
                   6 JSX to offer a unique, convenient alternative to the large, well-funded air carriers
                   7 (colloquially referred to as airlines) by (a) providing access to airports and cities not
                   8 regularly serviced by the large airlines, and (b) providing customers with unique
                   9 and convenient flying services the large airlines cannot offer customers—to wit, a
               10 Transportation Security Administration (“TSA”)-approved and compliant security
               11 process that is superior and exceeds security that occurs in the main terminal. JSX’s
               12 check-in procedure presents customers with less hassle and requires customers to
               13 dedicate less time than is required at the main airport terminal and reduces their
               14 exposure to crowds, which protects them from life-threatening diseases such as
               15 COVID.           Plaintiffs’ Federal Aviation Administration (“FAA”), TSA, and
               16 Department of Transportation (“DOT”)-approved operation at non-TSA areas of the
               17 Airport has enabled Plaintiffs to offer the public access to lesser-served markets as
               18 well as access to a more convenient travel experience previously reserved for the
               19 small segment of the public flying on private jets. JSX’s superior service and
               20 expansion of access to underserved routes represents an evolution in air travel that
               21 is exactly what Congress intended when it deregulated the aviation industry and has
               22 been warmly embraced by the traveling public.
               23            2.     However, the County of Orange (“County”)—owner and operator of
               24 the Airport—recently imposed mandatory Airport lease terms with the specific
               25 discriminatory intent and effect of excluding Plaintiffs from providing their unique
               26 and popular air transportation services at JWA as of January 1, 2021. Significantly,
               27 just two days before issuing termination letters to JSX, the Airport publicly
               28
COOLEY LLP
ATTORNEYS AT LAW                                                  2
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 3 of 42 Page ID #:3




                   1 celebrated the commencement of operations of yet two more large airlines at the
                   2 Airport’s main terminal, involving far noisier, crowded operations: Spirit Airlines
                   3 and Allegiant Airlines. JSX has much higher customer ratings than either of these
                   4 large airlines. And neither airline can provide the access and service to certain
                   5 markets like Plaintiffs can—nor can they provide customers with the same crowd
                   6 and hassle-free security procedure that JSX provides. Spirit launched service to both
                   7 Oakland and Las Vegas, which are both cities currently served by JSX; and Allegiant
                   8 announced flights to Reno, another route which JSX serves. In other words,
                   9 Defendants discriminatorily chose to terminate JSX’s access to the Airport in favor
               10 of two large airlines who plan to provide more of the same type of inconvenient,
               11 regularly scheduled service already available, while eliminating JSX’s unique rates,
               12 routes, and services not otherwise available at the Airport (ostensibly to induce the
               13 new airlines’ coming to JWA) by improperly discriminating against Plaintiffs and
               14 handing over to them Plaintiffs’ hard-earned market share.
               15            3.    Despite JSX’s repeated requests for accommodation and presentation
               16 of at least five suitable ways to achieve it, the County has refused to grant JSX
               17 access to JWA beyond that date. The County’s conduct is unconstitutional for at
               18 least two reasons: (1) it is preempted by federal law; and (2) it violates Plaintiffs’
               19 right to equal protection under the law. For both reasons, Plaintiffs seek declaratory
               20 and injunctive relief to ensure that they will be able to provide air transportation
               21 services at the Airport.
               22            4.    Defendant Barry Rondinella is the Airport Director of JWA.
               23 Mr. Rondinella is an agent and employee of the County who, within the scope of his
               24 duties and acting under the color of state law, negotiates and enforces lease terms at the
               25 Airport. Mr. Rondinella terminated JSX’s ability to operate at JWA in a written letter
               26 received on November 19, 2020.
               27            5.    Plaintiff JSX is a federally licensed air carrier that complies with all
               28
COOLEY LLP
ATTORNEYS AT LAW                                               3
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 4 of 42 Page ID #:4




                   1 applicable laws and regulations. JSX operates 30-seat aircraft and has never had a
                   2 safety incident or accident. According to third party customer satisfaction surveys,
                   3 JSX is currently the highest rated air carrier in the country.
                   4         6.    Plaintiff JetSuiteX is a federally licensed “indirect air carrier” who
                   5 partners with JSX to market commercial air carrier services. JetSuiteX complies
                   6 with all applicable laws and regulations.
                   7         7.    JSX has been operating out of JWA, safely and fully compliant with all
                   8 applicable laws, since June 2018. There have been no safety issues with JSX’s
                   9 operations at JWA.
               10            8.    Nevertheless, in November 2020, the County mandated lease terms that
               11 impose an unconstitutional, discriminatory restriction upon airport users, including
               12 JSX (the “Restriction”).         Under the Restriction, JSX will be prohibited from
               13 operating at JWA as of January 1, 2021.
               14            9.    The County drafted and approved the Restriction with the specific
               15 intent of prohibiting JSX from operating at JWA. The County has not provided a
               16 reason for its discriminatory policy and instead has acknowledged, several times to
               17 several different people, that its sole purpose of passing the Restriction was to
               18 prevent JSX from continuing operations at JWA.
               19            10.   The Restriction prevents JSX from offering diverse and underserved
               20 routes and services that are fully authorized by federal law. The Restriction also
               21 discriminates against JSX. The Restriction is thus unconstitutional because it is both
               22 preempted by the Constitution’s Supremacy Clause and, separately, violates the
               23 Fourteenth Amendment’s Equal Protection Clause.
               24            11.   On December 10, 2020, the agenda for the County’s December 15,
               25 2020 meeting was released. This is the final public meeting of the year and the last
               26 opportunity for the County to ameliorate its access restriction and lack of
               27 accommodation for JSX. JSX expected to be included on the public meeting agenda
               28
COOLEY LLP
ATTORNEYS AT LAW                                                 4
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 5 of 42 Page ID #:5




                   1 and that the County would address the constitutional violation. Instead, JSX was
                   2 not on the agenda and thus it became clear that the only way JSX could protect its
                   3 rights was through this action.
                   4         12.   Accordingly, JSX and JetSuiteX seek injunctive and declaratory relief
                   5 in order to prevent the County, its agents, employees, or anyone acting on its behalf,
                   6 from unlawfully prohibiting it from accessing JWA on fair, non-discriminatory, and
                   7 reasonable terms. Defendants have not only imposed a discriminatory restriction,
                   8 but both before and after doing so Defendants refused to provide a fair and
                   9 reasonable accommodation to permit JSX and JetSuiteX to continue their operations
               10 at JWA, in violation of federal law. The Restriction, and JWA’s refusal to provide
               11 any reasonable accommodation as required by law, has and will cause irreparable
               12 injury to JSX and JetSuiteX. JSX and JetSuiteX seek a return to the status quo
               13 ante—a safe, accessible, and mutually beneficial arrangement that has been in place
               14 for over two years—and to ensure that the County does not try to prohibit it from
               15 accessing JWA on fair and non-discriminatory terms moving forward.
               16                                         PARTIES
               17 Plaintiffs
               18            13.   Plaintiff Delux Public Charter, LLC d/b/a JSX Air (“JSX”) is a
               19 Delaware limited liability company with its administrative offices located at 1341
               20 Mockingbird Lane, Suite 600E in Dallas, Texas. JSX is an FAA-certificated, on-
               21 demand air carrier that operates commercial flights pursuant to 14 C.F.R. § 135 and
               22 holds a Commuter Air Carrier Authority issued by the DOT. JSX’s operations are
               23 safe, legal, quieter than any other commercial operator at JWA, and offer the
               24 traveling public a unique alternative to the traditional air carriers. Indeed, due to
               25 JSX’s ability to facilitate a fast, terminal-free, and socially distanced boarding and
               26 travel experience, customers are able to travel with confidence even during the
               27 pandemic. JSX has an impeccable safety record and is fully compliant with all
               28
COOLEY LLP
ATTORNEYS AT LAW                                                5
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 6 of 42 Page ID #:6




                   1 applicable federal, state, and local laws.
                   2           14.   Plaintiff JetSuiteX, Inc. (“JetSuiteX”) is a corporation organized
                   3 under the laws of the State of Delaware with its principal place of business located
                   4 at 1341 Mockingbird Lane, Suite 600E in Dallas, Texas. JetSuiteX is the parent
                   5 corporation of JSX. JetSuiteX is an indirect air carrier that sells tickets for JSX
                   6 flights pursuant to authority granted by the DOT. JetSuiteX is fully compliant with
                   7 all applicable federal, state, and local legal obligations.
                   8 Defendants
                   9           15.   Defendant County of Orange, California (“County”), is a charter
               10 county located in the Central District of California, with capacity to sue and be sued.
               11 The County is the owner and operator of the Airport. The Airport, a division of the
               12 County, is a commercial and general aviation airport located at 18601 Airport Way,
               13 Santa Ana, California, within the Central District of California. The Airport is the
               14 only commercial service airport in the County and the primary provider of general
               15 aviation services and facilities in the County. 1 The County receives federal grant
               16 money to operate the Airport and, as a result, is obligated by the Grant Assurances
               17 and federal statutes to operate in a reasonable, non-discriminatory, and financially
               18 self-sustaining manner.         The County operates and maintains the Airport as a
               19 governmental function for the primary purpose of providing air transportation to the
               20 public. The County is managed by five elected officials who make up the Orange
               21 County Board of Supervisors (“Board”). The Board, and each of its individual
               22 members, are representatives, agents, and employees of the County and the scope of
               23 their duties includes, among other things, approving and enforcing lease terms at the
               24 Airport. The County is a person within the meaning of 42 U.S.C. § 1983.
               25              16.   Defendant Barry Rondinella (“Mr. Rondinella”; collectively with
               26
               27
               28
                       1
                           https://www.ocair.com/aboutjwa/
COOLEY LLP
ATTORNEYS AT LAW                                                  6
   SAN DIEGO
                                     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 7 of 42 Page ID #:7




                   1 County, “Defendants”) is named in his official capacity as the Airport Director of
                   2 JWA. At all times relevant to this complaint, Mr. Rondinella was an agent and
                   3 employee of the County who was responsible for developing airport policies,
                   4 administering all activities associated with the operation of a medium hub
                   5 commercial airport, and had direct responsibility for five airport divisions: Business
                   6 Development, Facilities, Finance and Administration, Operations, and Public
                   7 Affairs. Mr. Rondinella reports to the County and is responsible for carrying out
                   8 policies, procedures, and duties regarding the Airport authorized by the Board.
                   9 Pertinent here, within the scope of his duties, Mr. Rondinella is charged with
               10 enforcing the Restriction and in fact has already informed JSX that it is prohibited
               11 from operating at JWA as of January 1, 2021. Mr. Rondinella and his staff have
               12 acknowledged that the Restriction was intentionally drafted and approved to
               13 eliminate JSX from the Airport. Mr. Rondinella is a person within the meaning of
               14 42 U.S.C. § 1983 and acts under color of state law as to the allegations in this
               15 Complaint. Mr. Rondinella’s official residence is at JWA, which is located in
               16 Orange County, California, within the Central District of California.
               17                            JURISDICTION AND VENUE
               18            17.   This Court has original jurisdiction over the subject matter of this
               19 action pursuant to (1) 28 U.S.C. §§ 1331 and 1343 because the matters in
               20 controversy arise under laws of the United States; (2) because this suit seeks redress
               21 for the deprivation, under color of state law, for rights secured by the United States
               22 Constitution; and (3) this Court’s inherent jurisdiction to grant equitable relief for
               23 violations of the United States Constitution.
               24            18.   This Court has personal jurisdiction over Defendants because they are
               25 domiciled in, reside in, or are a county located in California and because their denial
               26 of JSX’s rights under the United States Constitution and the laws of the United
               27 States occurred within California. The injuries caused by each Defendant occurred
               28
COOLEY LLP
ATTORNEYS AT LAW                                                7
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 8 of 42 Page ID #:8




                   1 in California.
                   2         19.   Venue is proper in the Southern Division of the Central District of
                   3 California because Defendants reside in the District and because a substantial part
                   4 of the events or omissions giving rise to the claims occurred in the District.
                   5         20.   This Court has authority to enter a declaratory judgment and to provide
                   6 preliminary and permanent injunctive relief pursuant to Rules 57 and 65 of the
                   7 Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202.
                   8         21.   This Court also has authority to enter injunctive relief for Defendants’
                   9 violation of federal law and the United States Constitution through equity
               10 jurisdiction authorized by Ex Parte Young, 209 U.S. 123 (1908), and its progeny.
               11                                STATEMENT OF FACTS
               12 JSX Is Federally Authorized And Indisputably Safe
               13            22.   JSX is an FAA-certificated air carrier that is authorized by federal law
               14 to fly customers for compensation or hire under the FAA’s operating rules contained
               15 in 14 C.F.R. § 135 (“Part 135”). JSX also holds a commuter air carrier authorization
               16 issued by the DOT.
               17            23.   JSX has been operating at JWA since June 2018. JSX has never had a
               18 safety incident or accident at JWA or elsewhere in its five-year operating history.
               19            24.   JWA is one of JSX’s largest markets. At various times since 2018,
               20 JSX has flown (or is scheduled to fly) routes that connect the following cities from
               21 its operations at JWA: Las Vegas, Oakland, Phoenix, Reno, Mammoth Lakes,
               22 Napa, Concord, and Palm Springs. On some routes, such as Oakland and Las
               23 Vegas, JSX competes with the services of large airlines. On other routes, such as
               24 Reno, Concord, and seasonal flights to Mammoth and Thermal, JSX offers the only
               25 nonstop service.
               26            25.   Currently, JSX’s operation at JWA directly employs more than 50
               27 individuals who live in or near the County. Hundreds of additional jobs are
               28
COOLEY LLP
ATTORNEYS AT LAW                                                8
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
               Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 9 of 42 Page ID #:9




                   1 supported indirectly. JSX has paid over $13.2 million to operate at JWA, including
                   2 $8.8 million in rent, fuel, passenger facility charges, landing, and other fees paid at
                   3 the Airport. JSX estimates that the local economic impact of its flight operations is
                   4 $25 million annually.
                   5         26.    JSX’s operations are fully compliant with federal law, but they are
                   6 structured differently than the large scheduled airlines that operate at JWA. JSX’s
                   7 departure times, departure locations, and arrival locations are specifically
                   8 negotiated with its sole customer, JetSuiteX. JetSuiteX is an indirect air carrier that
                   9 has authority from the DOT under 14 C.F.R. § 380 to sell individual seats to the
               10 public on the flights it organizes on JSX. 2
               11            27.    The most unique aspect of JSX’s operations is that its customers do not
               12 have to enter the terminal of an airport to board or deplane: the result is a fast,
               13 crowd-free airport experience.
               14            28.    JSX’s federally approved certification status and its Transportation
               15 Safety Administration (“TSA”) approved “Twelve-Five” Security Plan 3 (which is
               16 superior to and in many ways exceeds the standard TSA plan utilized in the main
               17 terminal) and business model require it to drop-off and pick-up customers at
               18 locations within the Airport that are not Security Identification Display Areas
               19 (“SIDA”). A SIDA location is differentiated and cordoned off from non-SIDA
               20 locations at the Airport—but both types of security checkpoints are TSA-approved
               21 and meet federal regulations.
               22            29.    Customers of large airlines who board from terminal buildings are
               23
               24
               25   Under this federally authorized arrangement, JetSuiteX sells tickets to the
                       2

                 traveling public, JetSuiteX charters an entire JSX flight, and then JSX operates the
              26 flight using the time, location, and destination designated by JetSuiteX.
              27
                 3
                   The “Twelve Five” Security Plan refers to a category of TSA-approved security
                 plan applicable to the operation of certain aircraft with a maximum certificated
              28 takeoff weight of 12,500 pounds or more. See 49 C.F.R. § 1550.7.
COOLEY    LLP
ATTORNEYS AT LAW                                            9
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 10 of 42 Page ID #:10




                   1 required to pass through a TSA security checkpoint in order to enter the terminal
                   2 (which is a SIDA location) at JWA. The TSA security checkpoints—and the
                   3 crowds, frustration, and delays associated with them—are ubiquitous for the
                   4 average airport user.
                   5        30.    But JSX is different. JSX operates pursuant to a federally authorized
                   6 regulatory protocol that permits its customers to bypass normal TSA security
                   7 checkpoints; bypass large crowds and long lines; and bypass the typical time spent
                   8 waiting for an airplane to board and depart. JSX is both faster and safer. JSX
                   9 maintains a rigorous TSA-approved and monitored security plan, but it does not
               10 process customers through the main terminal’s TSA checkpoints.
               11           31.    Unlike the major scheduled air carriers, JSX operates 30-seat aircraft
               12 and offers a type of service that FAA regulations classify as “on-demand” services.
               13 See 14 C.F.R. Part 110.2 (defining “on demand” operations). Under applicable
               14 regulations and its TSA-approved security plan, JSX can operate (and has for
               15 several years incident free, at every one of its airports) from non-SIDA portions of
               16 JWA, such as a fixed base operator (“FBO”) (discussed infra).
               17           32.    Put another way, JSX can legally and safely permit its customers to
               18 board and deplane without the need to pass through a TSA-security checkpoint.
               19 Importantly, JSX cannot legally permit its customers to enter SIDA areas of JWA
               20 because non-SIDA and SIDA customers cannot commingle under the regulations.
               21 As a result, JSX’s customers are federally prohibited from entering the main
               22 terminal at JWA. In other words, the County’s Restriction (which would force all
               23 JSX customers through the SIDA main terminal) would eliminate JSX’s ability to
               24 operate under its otherwise fully FAA-compliant procedures.
               25           33.    Moreover, even if JSX wanted to introduce a requirement that its
               26 customers pass through a SIDA-compliant security checkpoint at JWA in the main
               27 terminal, by law it would be unable to do so. This is true because several of the
               28
COOLEY LLP
ATTORNEYS AT LAW                                              10
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 11 of 42 Page ID #:11




                   1 airports that JSX operates out of for routes that link to JWA, such as Buchanan Field
                   2 Airport in Concord, California, do not have a TSA-checkpoint. As a result, JSX
                   3 cannot fly out of Concord to JWA and introduce its customers into the SIDA portion
                   4 of the airport.    Similarly, the JSX flights operating from airports with TSA
                   5 checkpoints, such as McCarran International Airport in Las Vegas, Nevada,
                   6 originate from non-SIDA locations that lack TSA facilities. Hence, the Restriction
                   7 requiring JWA customers to funnel through the main SIDA terminal at JWA thereby
                   8 operates to improperly regulate the preempted field of aviation by eliminating
                   9 “access” to JWA on those routes, thus effectively eliminating those routes and
               10 services, which are beneficial to the public.
               11            34.   To be sure, JSX has adopted and implemented security protocols that
               12 exceed TSA requirements, but it screens and boards its customers (approximately
               13 30 per flight) much more rapidly than the larger air carriers who process hundreds
               14 of customers per flight and are required to operate from the SIDA portions of the
               15 terminal (including the TSA checkpoints). JSX thus provides its customers with a
               16 much more rapid, socially distanced way to board and travel: no large groups
               17 waiting to pass through security; no large groups waiting to board; and no large
               18 groups waiting to retrieve baggage. At the height of a global pandemic, this is the
               19 worst time to eliminate JSX’s services that benefit the public – including
               20 immunocompromised customers who are fearful of greater risk and exposure to
               21 infection at the main terminal.
               22            35.   Because JSX’s non-SIDA (but TSA approved) security protocol can
               23 never be mixed with the SIDA security protocol employed at the main terminal,
               24 JSX’s customers are not required to pass through TSA-security checkpoints.
               25 Instead, these customers are required, by federal law, to utilize non-SIDA locations
               26 at the Airport.
               27            36.   But this is not problematic and, instead, is one of the most attractive
               28
COOLEY LLP
ATTORNEYS AT LAW                                               11
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 12 of 42 Page ID #:12




                   1 aspects of JSX’s business model. Entirely consistent with federal law, JSX’s
                   2 customers can arrive 20 minutes before a flight, pass through JSX’s TSA-compliant
                   3 and approved security procedures at the FBO, and avoid long lines and large
                   4 crowds. This is only possible if JSX is able to utilize a non-SIDA location at an
                   5 airport for boarding and deplaning. Defendants know this. However, Defendants
                   6 have refused to provide a reasonable accommodation to permit JSX and JetSuiteX
                   7 to continue their operations at JWA through a non-SIDA location, in violation of
                   8 federal law.
                   9        37.     Because of this and other customer-centric efforts, JSX is the highest
               10 rated air carrier in North America, and the attractiveness of its service has only
               11 grown during the pandemic. As stated in a recent Forbes article about JSX:
               12           The JSX Simpli-Fly program is centered around the current needs of
                            the Covid traveler, including: increased aircraft and lounge sterilization
               13
                            throughout the day, maintaining only 30-[customers] onboard per
               14           flight, 2x1 seating configuration with a minimum of 36-inch pitch and
                            no middle seats or overhead bins and an advanced air circulation system
               15
                            that combines a significantly higher percentage of fresh versus recycled
               16           air while creating “mass flow balance,” which means each section of
                            the cabin has its own air induction and removal stream.4
               17
               18           38.     JSX has operated for five years, enjoys a perfect safety record, the
               19 highest customer satisfaction of any air carrier in the United States and was named
               20 #1 air carrier in North America by APEX, the Airline Passenger Experience
               21 Association.
               22           39.     By contrast, Spirit (which was welcomed to JWA on November 17,
               23 2020, just two days before the County prohibited JSX from accessing JWA on
               24 November 19, 2020), has received some of the lowest ratings. For example, a recent
               25 Forbes article on airline ratings during COVID stated:
               26
               27
                   https://www.forbes.com/sites/jqlouise/2020/10/27/how-these-brands-are-making-
                       4
              28 traveling-during-covid-19-easier/?sh=309912371630
COOLEY    LLP
ATTORNEYS AT LAW                                         12
   SAN DIEGO
                                    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 13 of 42 Page ID #:13




                   1               At the bottom of the list is Spirit Airlines, which receives the
                                   lowest ranking of the 10 major American carriers. The low-cost
                   2
                                   airline ranks poorly due to additional charges for masks, vague
                   3               cleaning procedures and no efforts to limit flight capacity or
                                   protect frequent flyers. 5
                   4
                   5         40.   With more space between seats and a low hassle airport experience
                   6 (e.g., no security lines, no waiting at the gates, and no showing up hours early to
                   7 board a flight), thousands of customers have told JSX that it is the only carrier they
                   8 will fly until the pandemic subsides. To that end, more than 5,500 customers have
                   9 contacted the County to voice their opposition to the Restriction. Among these
               10 displeased County residents are many immunocompromised individuals who need
               11 to travel for medical treatment; medical professionals engaged in fighting the
               12 pandemic; and first responders who enable California to manage emergencies
               13 including the pandemic and forest fires.
               14            41.   JSX’s customer-preferred, critical transportation services have been
               15 designated as “Essential” by DOT, the Department of Homeland Security (“DHS”)
               16 and Cybersecurity & Infrastructure Security Agency (“CISA”).
               17            42.   Moreover, JSX is the most “neighborly” commercial air carrier at
               18 JWA. Studies have shown that JSX operates the quietest commercial aircraft
               19 serving JWA, and JSX has worked with JWA and the FAA to implement flight
               20 procedures that minimize the negative impacts of noise on the neighboring
               21 communities.
               22            43.   A 2019 noise study at JWA empirically demonstrated that a single
               23 Boeing 737-800—an aircraft commonly used by large airlines—produces the same
               24 amount of noise as thirty-eight JSX overflights. The community’s concern about
               25 aircraft noise is real, and JSX has taken affirmative steps to address the issue.
               26
               27
                 https://www.forbes.com/sites/laurabegleybloom/2020/07/27/covid-report-best-
                       5
              28 worst-airlines-coronavirus/?sh=6810a24913af
COOLEY    LLP
ATTORNEYS AT LAW                                       13
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 14 of 42 Page ID #:14




                   1         44.   Simply put, JSX provides a level of safety, convenience, and socially
                   2 distanced flying experience that is otherwise only available to individuals who can
                   3 afford to travel in a private jet. JSX’s services are safe, federally authorized, and
                   4 especially well-suited for individuals who travel during the pandemic.
                   5 JSX Has Safely Operated At JWA Since 2018
                   6         45.   JWA is a “public use” Airport that is funded, in part, by grants obtained
                   7 under one or more federal programs, including the Airport Improvement Program.
                   8 The receipt of federal grant money obligates the County to comply with statutorily
                   9 enumerated obligations, known as “Grant Assurances.”
               10            46.   If an airport is obligated to comply with the Grant Assurances, the FAA
               11 has made clear that “Federally obligated airport sponsors are required to operate
               12 airports for the use and benefit of aeronautical users and to make those airports
               13 available to all types, kinds, and classes of aeronautical activities on fair and
               14 reasonable terms, and without unjust discrimination.” (emphasis added). 6 In other
               15 words, JWA has a duty to make “reasonable accommodations” to JSX.
               16            47.   Pertinent here, the Grant Assurances, as set forth in federal statute,
               17 require the County to provide access to all aviation users in a reasonable and non-
               18 discriminatory manner. At minimum, this means that the County cannot arbitrarily
               19 seek to exclude an airport user (e.g., an air carrier) from accessing the Airport.7
               20            48.   Federal law also prohibits JWA from creating rules or policies that have
               21 the effect of restricting an airport user’s access to the Airport. The Restriction and
               22 the refusal to make any reasonable accommodation (if permitted) is a rule that has
               23
               24
               25  https://www.faa.gov/airports/airport_compliance/media/airportSponsor
                       6

                 AndUserRightsBrochure.pdf
              26 7 JSX is required to pursue an administrative remedy for violation of the Grant
              27 Assurances through a “Part 16” complaint process filed with the FAA. See 14 C.F.R.
                 § 16.1 et seq. However, the FAA does not have jurisdiction to resolve the claims
              28 raised in this Complaint and thus parallel proceedings are required.
COOLEY    LLP
ATTORNEYS AT LAW                                          14
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 15 of 42 Page ID #:15




                   1 such an effect, preventing JSX’s access to JWA.
                   2         49.   In June 2018, JWA issued JSX a license to operate from a non-SIDA
                   3 location – namely, an FBO located at the Airport. An FBO is an aeronautical service
                   4 provider located at an airport who, among other things, offers fueling, maintenance,
                   5 and other ground-based services to aircraft operators.        FBOs typically lease
                   6 premises from the airport sponsor and are obligated to comply with the Grant
                   7 Assurances, including the requirement that they offer services in a fair, reasonable,
                   8 and non-discriminatory manner. An FBO’s lease typically must be approved by the
                   9 airport sponsor, and the airport sponsor has the ability to require an FBO to include
               10 certain terms in its lease.
               11            50.   Under the license, JSX began operating from Aviation Consultants,
               12 Inc. d/b/a ACI Jet (“ACI Jet”). ACI Jet is a large, well-respected FBO at JWA.
               13 Under this license agreement, JSX would rent space and purchase fuel from ACI
               14 Jet. In return, ACI Jet would provide a location for JSX’s customers to board and
               15 deplane JSX flights.
               16            51.   The lease currently in effect between ACI Jet and the County does not
               17 contain any terms prohibiting JSX’s operations from ACI Jet’s FBO facility.
               18            52.   However, due to the Restriction imposed by the County and the refusal
               19 to make any reasonable accommodation (discussed infra), ACI Jet has terminated
               20 JSX’s ability to operate out of its FBO facility at JWA as of January 1, 2021.
               21            53.   Indeed, as of the date of this Complaint, JSX still operates from ACI
               22 Jet’s FBO facility and both parties are willing to continue the license agreement into
               23 the future. ACI Jet publicly confirmed its support for JSX’s continued operations
               24 at JWA during the Board’s meeting held on September 15, 2020. The only reason
               25 that ACI Jet has indicated that it will terminate JSX’s lease is because of the
               26 Restriction the County has mandated to be included in ACI Jet’s new lease. But for
               27 the County’s discriminatory Restriction, JSX could continue its operations at ACI
               28
COOLEY LLP
ATTORNEYS AT LAW                                               15
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 16 of 42 Page ID #:16




                   1 Jet’s facility.
                   2 The Restriction Specifically and Intentionally Targets JSX
                   3         54.    Since the outset of its operations at JWA, JSX has been utilizing
                   4 FBOs—such as ACI Jet—or its own leaseholds for its customer drop-off and pick-
                   5 up services.
                   6         55.    In the summer of 2020, the County authorized Mr. Rondinella to begin
                   7 negotiating new FBO leases, including with ACI Jet and another FBO named Clay
                   8 Lacy Aviation, Inc.
                   9         56.    If the FBO could not secure a new lease with the Airport, it would be
               10 forced to stop operations at JWA.
               11            57.    Mr. Rondinella instructed bidders for the FBO leases, including ACI
               12 Jet, that they must agree to lease terms that were intentionally drafted to restrict
               13 JSX’s access to JWA.
               14            58.    The County and Mr. Rondinella’s intent and purpose was to ban JSX
               15 from operating routes or providing services out of JWA. This same sentiment was
               16 conveyed directly to JSX. On September 11, 2020 (four days before the new leases
               17 were approved), Mr. Rondinella spoke with JSX’s Chief Executive Officer Alex
               18 Wilcox. During this conversation, Mr. Rondinella advised Mr. Wilcox that the
               19 Restriction was both required and intended to prohibit JSX from operating at JWA.
               20            59.    To that end, if the FBO would not agree to prohibit JSX from using its
               21 facilities, their bid for a renewed lease would not be considered. During summer
               22 2020, Mr. Rondinella spoke with the majority owner of ACI Jet regarding ACI Jet’s
               23 lease renewal. On information and belief, Mr. Rondinella told ACI Jet’s majority
               24 owner that ACI Jet would not be awarded a renewed lease unless it stopped JSX
               25 from operating at ACI Jet.
               26            60.    Prior to formally agreeing to Defendants’ proposed Restrictions, ACI
               27 Jet attempted to negotiate terms that would allow JSX to continue to operate routes
               28
COOLEY LLP
ATTORNEYS AT LAW                                               16
   SAN DIEGO
                                    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 17 of 42 Page ID #:17




                   1 and provide services from JWA, but Defendants were insistent that JSX be denied
                   2 access to JWA.        Defendants have failed to provide JSX a reasonable
                   3 accommodation to permit its continued operations at JWA, in violation of federal
                   4 law. Moreover, Defendants would not permit ACI Jet to offer JSX a transition
                   5 period.
                   6        61.   ACI Jet ultimately agreed, at the County’s behest, to restrict JSX’s
                   7 access to JWA in order that its bid proposal would be considered by the County.
                   8        62.   Accordingly, at its September 15, 2020, meeting, the County approved
                   9 new leases between the County and two FBOs: ACI Jet and Clay Lacy Aviation,
               10 Inc. (the “Leases”). As a result, the Leases contain the Restriction that prohibits
               11 JSX’s operations from the FBOs as of January 1, 2021.
               12           63.   The Leases—which only apply to the FBOs from which JSX currently
               13 operates—contain the Restriction that prohibits the FBOs from facilitating customer
               14 pick-up or drop-off from “Regularly Scheduled Commercial Operators” as defined
               15 in the Access Plan 8:
               16           LESSEE shall not permit the operation of a Regularly Scheduled
                            Commercial User as defined in section 2.40 of John Wayne
               17
                            Airport’s Phase 2 Commercial Airline Access Plan and Regulation,
               18           as may be amended from time to time. 9
               19           64.   To be sure, the County did not expressly name JSX in the resolution it
               20 passed that introduced new, mandatory language in the FBO Leases. But it
               21 intentionally drafted the Restriction for the sole and intentional purpose of making
               22 it impossible for JSX—and only JSX—to operate at JWA. The County’s Restriction
               23
               24
               25  The Access Plan governs operations at JWA and is a byproduct of the 1985
                       8

                 Settlement Agreement.
              26 9 Orange County Board of Supervisors, Agenda Revisions and Supplementals (Sep.
              27 15,     2020),    Attachment     A     at   24;     Attachment   B   at    24
                 (https://board.ocgov.com/sites/bos.egovoc.com/files/2020-09/rev-
              28 sup09152020.pdf.
COOLEY    LLP
ATTORNEYS AT LAW                                         17
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 18 of 42 Page ID #:18




                   1 bars JSX from accessing JWA because of its FAA-authorized operations in and out
                   2 of other non-SIDA terminals—the crux of JSX’s operations and business model that
                   3 enables JSX to compete with traditional airlines.
                   4         65.    The Access Plan classifies JSX as a “Regularly Scheduled Commercial
                   5 User.” 10 This is the same category that applies to the large, regularly scheduled
                   6 carriers, such as Southwest or Delta. However, because the scheduled carriers are
                   7 federally required to operate from the SIDA portions of the terminal—a byproduct
                   8 of the FAA certification status that the major carriers have, set forth in 14 C.F.R.
                   9 § 121 (“Part 121”)—the Restriction applies uniquely to JSX.
               10            66.    The regulatory distinction between the large airlines and JSX is key to
               11 understanding the subtle but intentional discrimination inherent in the Restriction,
               12 which prevents JSX from accessing JWA. The major carriers who operate under
               13 Part 121 never operated out of the FBOs, have always operated out of the terminal,
               14 and are federally prohibited from utilizing the FBOs.
               15            67.    Therefore, by drafting the Leases (which apply only to the FBOs) in
               16 this manner, the County and Mr. Rondinella intentionally targeted the only
               17 “Regularly Scheduled Commercial User” that had operated out of the FBOs—
               18 JSX—from continuing to operate out of the FBOs. In so doing, Defendants knew
               19
               20
               21
                       10
                          The term “Regularly Scheduled Commercial User” defined and used in the
                       Access Plan does not correspond to any term or classification used in the Federal
               22      Aviation Regulation. Instead, under JWA’s Access Plan § 2.40, a “Regularly
               23      Scheduled Commercial User” means “any person conducting aircraft operations at
                       JWA for the purpose of carrying passengers, freight, or cargo where such
               24      operations: (i) are operated in support of, advertised, or otherwise made available
               25      to members of the public by any means for commercial air transportation purposes,
                       and members of the public may travel or ship Commercial Cargo on the flights; (ii)
               26      the flights are scheduled to occur, or are represented as occurring (or available) at
               27      specified times and days; and (iii) the person conducts, or proposes to operate,
                       departures at JWA at a frequency greater than two (2) times per week during any
               28      consecutive three (3) week period.”
COOLEY LLP
ATTORNEYS AT LAW                                                 18
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 19 of 42 Page ID #:19




                   1 they were making it impossible for JSX to continue operating out of JWA. The
                   2 Restriction was intentionally added to the Leases to eliminate JSX—a small and
                   3 innovative air carrier with a popular model—to eliminate competition for the large
                   4 airlines at JWA. And at the same time, JWA welcomed Spirit and Allegiant that
                   5 fail to provide the public with the same unique services JSX provides.
                   6        68.    The Restriction does not prohibit the operations of any other on-
                   7 demand air carrier. Indeed, if a non-JSX aircraft operating under the same federal
                   8 authority and utilizing the same aircraft as JSX arrived at JWA, it would be
                   9 permitted to pick-up and drop-off its customers at the FBOs. JSX is the only
               10 operator prohibited from accessing the FBOs at JWA as a result of the Restriction.
               11           69.    The   Restriction   and the     refusal   to make    any    reasonable
               12 accommodation has the impact of restricting JSX’s access to JWA and prohibiting
               13 JSX’s routes and service from JWA. As noted, JSX cannot simply begin utilizing
               14 the terminal (which is a SIDA location) because, among other reasons, it flies routes
               15 that connect JWA to airports that lack TSA-staffed facilities, such as Buchanan
               16 Field in Concord, California. Flights from Concord (as an example) cannot deplane
               17 at JWA’s SIDA-compliant terminal.            Therefore, all routes and services from
               18 Concord have been eliminated by the Restriction.
               19           70.    To date, Defendants have not provided any basis, justification, or
               20 reason for adding the Restriction in the Leases.
               21           71.    Instead, Mr. Rondinella has acknowledged that the Restriction
               22 intentionally singled out JSX and was required for the sole purpose of eliminating
               23 JSX’s ability to operate at the Airport.
               24           72.    Despite there being no incidents, accidents, or other safety issues for
               25 the two-plus years that JSX operated out of ACI Jet, or the five years JSX has
               26 operated nation-wide, the County banned JSX’s operations.
               27 JWA Refuses To Provide Reasonable Accommodations To JSX
               28
COOLEY LLP
ATTORNEYS AT LAW                                              19
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 20 of 42 Page ID #:20




                   1        73.    With the Restriction, Defendants have completely restricted JSX’s
                   2 access to the Airport. Furthermore, despite JSX’s good faith and best efforts, JWA
                   3 has denied all requests for accommodation. Far from providing a “reasonable
                   4 accommodation” to JSX—as JWA is required to do under federal law and its Grant
                   5 Assurances—the Airport has failed to provide any accommodation at all.
                   6        74.    Seeking to find a reasonable accommodation that would be acceptable
                   7 to the County, JSX proposed several viable alternatives to the County and Mr.
                   8 Rondinella for JSX to operate at the Airport. JSX has written and told this to the
                   9 County and Mr. Rondinella several times, but every potential accommodation
               10 presented by JSX was denied or ignored.
               11           75.    During the September 11 conversation between JSX’s Mr. Wilcox and
               12 Mr. Rondinella, Mr. Wilcox advised Mr. Rondinella that the Restriction (that had
               13 been proposed but not yet approved) would deny JSX access to the ACI Jet facility
               14 and asked that JSX be accommodated at another location at the Airport.
               15           76.    To try and find a way to accommodate its services at JWA, Mr. Wilcox
               16 renewed a request that JSX has previously made that JWA convert an under-utilized
               17 portion of the terminal or terminal ramp and parking area into a non-SIDA area to
               18 accommodate JSX’s operation. This request was summarily denied.
               19           77.    JSX also offered, again, to operate out of a number of unused buildings
               20 at JWA, convert space to be compliant with its non-SIDA operations, or bus its
               21 customers from the FBO to a different loading area for customer pick-up and drop-
               22 off. These reasonable accommodations were also denied.
               23           78.    In addition, JSX proposed to operate consistent with the charter
               24 services operated on behalf of sports teams where an air carrier buses its customers
               25 from an off-Airport location (e.g., a hotel) to its aircraft on the terminal ramp or at
               26 an FBO. This reasonable accommodation was also denied.
               27           79.    JSX was (and remains) willing and able to do anything that would
               28
COOLEY LLP
ATTORNEYS AT LAW                                              20
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 21 of 42 Page ID #:21




                   1 permit it to retain access to the Airport. Defendants ignored or rejected these
                   2 proposed accommodations.
                   3         80.   Indeed, Mr. Rondinella and the Airport have repeatedly refused to
                   4 make any accommodation that would allow JSX to continue to operate at JWA
                   5 consistent with its TSA-approved security plan and FAA-approved operating
                   6 authority.
                   7         81.   The County’s and Mr. Rondinella’s refusal was intended to and has
                   8 denied JSX access to the Airport. In doing so, the Airport has failed to fulfill the
                   9 legal obligations it undertakes as a public use airport that receives federal funds,
               10 including a commitment “to make [the] airport[] available as an airport for public
               11 use on reasonable terms and without unjust discrimination to all types, kinds and
               12 classes of aeronautical activities, including commercial aeronautical activities
               13 offering services to the public at the airport.”
               14            82.   On November 19, 2020, the County issued two letters to JSX. In the
               15 letters, the County refused to offer any accommodation (notwithstanding the prior
               16 discussions) and terminated JSX’s authority to operate as a commuter air carrier
               17 from the FBO as of January 1, 2021.
               18            83.   To be sure, the termination letter purports to grant JSX the ability to
               19 operate out of the SIDA terminal for 2021. But the County knows that this is
               20 federally prohibited (because JSX flies from non-SIDA sites) and thus it
               21 intentionally proposed a false option to JSX by forcing its customers through the
               22 SIDA main terminal.
               23            84.   Again, JSX is unable to utilize SIDA locations (such as the main
               24 terminal) to deplane (as an example) because none of its customers have passed
               25 through TSA-checkpoints and, in some cases, are coming from airports that do not
               26 have SIDA locations at all, such as Concord, California.
               27            85.   The County’s “option” for 2021 set forth in the letter is no option at
               28
COOLEY LLP
ATTORNEYS AT LAW                                              21
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 22 of 42 Page ID #:22




                   1 all.
                   2         86.   On December 10, 2020, the agenda for the County’s December 15,
                   3 2020 meeting was released. This is the final public meeting of the year and the last
                   4 opportunity for the County to ameliorate its access restriction and lack of
                   5 accommodation for JSX. JSX expected to be included on the public meeting agenda
                   6 and that the County would address the constitutional violation. Instead, JSX was
                   7 not on the agenda and thus it became clear that the only way JSX could protect its
                   8 rights was through this action.
                   9         87.   The County’s decision has the effect of restricting JSX’s access to the
               10 Airport and ending JSX’s services and routes through the FBO at JWA as of January
               11 1, 2021.
               12 JWA Acts In Bad Faith
               13            88.   Despite the County’s and Mr. Rondinella’s intention to ban JSX from
               14 the Airport, JSX was offered several assurances that it would be able to operate in
               15 2021, even after the Leases were approved.
               16            89.   Around the same time that the County was considering and ultimately
               17 approved the new Restriction, JSX reached out to the Orange County traveling
               18 public and asked them to write to the Board if they opposed the Restriction that the
               19 Board was considering. The public responded with more than 5,500 emails to the
               20 Board in the ensuing 48 hours. These emails came from County residents and
               21 national travelers who opposed the Restriction that banned JSX from operating
               22 routes and services out of JWA.
               23            90.   Perhaps in reaction to the public outcry, or perhaps recognizing that
               24 the Restriction is invalid under federal law and its own Access Plan, the County
               25 requested that JSX not pursue legal remedies and wait for resolution until after the
               26 election as it was prepared to offer an “olive branch” to provide JSX with the ability
               27 to continue operating out of JWA consistent with JSX’s business model and federal
               28
COOLEY LLP
ATTORNEYS AT LAW                                              22
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 23 of 42 Page ID #:23




                   1 law.
                   2        91.    Acting in good faith, JSX complied with the County’s request that it
                   3 not seek legal redress for this violation and waited to hear the County’s proposed
                   4 path forward. JSX was optimistic that the County would remedy its constitutional
                   5 violation and provide a reasonable accommodation as it is required to do under
                   6 federal law prior to January 1, 2021.
                   7        92.    Based on these assurances from the County, and in reliance upon them,
                   8 and the availability of numerous options for JWA to accommodate JSX, JSX
                   9 continued and continues to sell tickets to customers for flights departing to or
               10 arriving at JWA after January 1, 2021; schedule new routes that incorporate JWA in
               11 the city-pairing after January 1, 2021; enter into agreements to service new cities
               12 from JWA after January 1, 2021; and market its services to the people who fly into
               13 or out of Orange County.
               14           93.    For example, on September 21, 2020, the County suggested that JSX
               15 would be permitted to operate from the ACI Jet terminal for another year (e.g., for
               16 all of 2021). This would allow JSX to continue to operate as it always has for
               17 another year, and to plan for alternative accommodations at JWA during that time.
               18           94.    On September 25, 2020, JWA officials met with JSX to discuss
               19 possible customer and related operational alternatives proposed by JSX, including
               20 the following:
               21                  A.    Operate out of the U.S. Customs and Border Protection
                                         (“USCBP”) Federal Inspection Service (“FIS”) area when
               22
                                         it is not in use by USCBP;
               23                  B.    Operate from a gate at the main terminal that is
                                         underutilized and construct a corridor in order to provide
               24
                                         a non-SIDA area for customers to enter and exit the
               25                        Airport for boarding;
                                   C.    Operate in a manner consistent with sport team charter
               26
                                         operations at the Airport and are permitted to use non-
               27                        SIDA areas of the Airport for boarding and deplaning;
                                   D.    Remain at the current FBO lobby location at ACI Jet and
               28
COOLEY LLP
ATTORNEYS AT LAW                                              23
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 24 of 42 Page ID #:24




                   1                         escort customers to the underutilized gate for loading; or
                                      E.     Continue to operate out of ACI Jet in a manner consistent
                   2
                                             with current JSX operations.
                   3
                                95.   Following this meeting, JWA and County officials communicated to
                   4
                       JSX that a firm proposal—the aforementioned “olive branch”—would be
                   5
                       forthcoming, but not until after the election in early November.
                   6
                                96.   Despite these assurances, the County did not offer any accommodation
                   7
                       to JSX and appears to have been acting in bad faith. Instead, the County summarily
                   8
                       denied any of the accommodations that had been proposed and discussed.
                   9
                                97.   The promised “olive branch” was not the only reason that JSX
               10
                       believed, in good faith, that the County would ameliorate its constitutional violation
               11
                       and afford JSX an accommodation.
               12
                                98.   Due to a 1985 Settlement Agreement entered into by and between the
               13
                       County and the Board, the City of Newport Beach, public interest groups, and a
               14
                       working group of airlines, JWA has annual capacity limitations on the number of
               15
                       customers that can utilize the Airport.11 The Settlement Agreement has been
               16
                       modified and the customer capacity limits have increased several times since 1985.
               17
                       See County of Orange v. Air California, Inc., No. CV 85-1542 (Dec. 13, 1985), as
               18
                       amended.
               19
                                99.   To comply with the Settlement Agreement but also maximize the
               20
                       number of customers who can use the Airport, the County has instituted a process
               21
                       in which air carriers may request a certain allocation of capacity for the upcoming
               22
                       year. Since 2018, JSX has been afforded an annual capacity with the County’s full
               23
                       knowledge that its operations are out of ACI Jet’s FBO facility.
               24
                                100. In parallel with the Lease negotiations, the County engaged in its
               25
                       annual process for allocating capacity under the Access Plan. On August 19, 2020,
               26
               27
               28      11
                            Some operations do not require an allocation, such as general aviation flights.
COOLEY LLP
ATTORNEYS AT LAW                                                  24
   SAN DIEGO
                                      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 25 of 42 Page ID #:25




                   1 in a letter from Mr. Rondinella, JWA invited JSX and other commuter air carriers
                   2 to request customer allocations for 2021.
                   3        101. On September 11, 2020 (four days before the Leases were approved),
                   4 JSX submitted its timely request for an allocation of 95,070 customers for 2021.
                   5 This is the same number of customers that JSX had requested, and JWA had
                   6 approved, for 2020.
                   7        102. Just two weeks before Mr. Rondinella announced commencement of
                   8 services by Spirit and Allegiant, Mr. Rondinella recommended that the County
                   9 approve JSX’s complete 2021 allocation request at the November 3, 2020, Board
               10 meeting. This suggested that the Airport was expecting JSX to continue operating
               11 at JWA, which could only occur if an accommodation was made that did not require
               12 JSX to operate out of a SIDA portion of the terminal.
               13           103.    For both reasons—the express “olive branch” statement by the
               14 County as well as the implicit recognition that JSX would need customer allocation
               15 for 2021 only if it was allowed to operate at JWA—JSX took the County at its word
               16 and tried to find a non-litigious solution.
               17           104. But the County and Mr. Rondinella apparently had no intention of
               18 finding such a solution. Instead, on November 17, 2020, JWA welcomed large
               19 airlines Spirit and Allegiant in a well-publicized announcement; and 48 hours later,
               20 on November 19, 2020, JWA terminated JSX’s services from the FBO run by ACI
               21 Jet. The bad faith with which they operated has now forced JSX to seek emergency
               22 relief due to the Restriction becoming effective as of January 1, 2021.
               23 JSX Needs Declaratory And Injunctive Relief To Avoid Irreparable Harm
               24           105. Defendants intentionally targeted JSX’s operations for elimination and
               25 therefore approved the Restriction with the intention of excluding JSX from JWA.
               26       106. County officials have admitted that the intent of the Restriction was to
               27 eliminate JSX.
               28
COOLEY LLP
ATTORNEYS AT LAW                                             25
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 26 of 42 Page ID #:26




                   1         107. On information and belief, the County was motivated to prohibit JSX
                   2 from operating at JWA to favor the more politically powerful large airlines.
                   3         108. For example, on November 17, 2020, and two days prior to issuing the
                   4 letters terminating JSX’s authority to operate at JWA, Spirit announced that it would
                   5 begin service from JWA to both Oakland and Las Vegas, which are both cities
                   6 currently served by JSX.         The Airport held a ceremony to celebrate the
                   7 commencement of Spirit’s operations at the Airport:
                   8        SPIRIT JETS OFF FROM ORANGE COUNTY TO OAKLAND
                                             AND LAS VEGAS 12
                   9
               10
               11
               12
               13
               14
               15
               16
               17
               18
               19
               20
                  Spirit began Orange County to Oakland and Las Vegas on 17 and 18
               21 November respectively. Phoenix is coming in January.
               22
                             109. On the same day, the Airport also announced that it would be
               23
                       welcoming Allegiant to begin operating out of JWA—including flights to Reno,
               24
                       another route which JSX services. If the County’s illegal action is allowed to stand,
               25
               26
               27
                   https://www.anna.aero/2020/11/20/spirit-jets-off-from-orange-county-to-
                       12
              28 oakland-and-las-vegas/
COOLEY    LLP
ATTORNEYS AT LAW                                       26
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 27 of 42 Page ID #:27




                   1 the Airport will have succeeded in eliminating one of three competitors on the JWA-
                   2 Oakland route and one of four competitors on the JWA-Las Vegas route—all to the
                   3 benefit of the large airlines serving those routes. This is just an example of the
                   4 Airport’s discriminatory actions taken to favor Part 121 airlines at the expense of
                   5 JSX.
                   6         110. As a result of Defendants’ unlawful conduct, and in the absence of
                   7 injunctive relief, JSX will suffer an irreparable blow to its business model,
                   8 substantial loss of business, will be put at a significant competitive disadvantage,
                   9 will suffer harm to its business reputation and damage to its goodwill, its JWA-
               10 based employees will be harmed, and its constitutional rights will be violated.
               11            111. JSX is already suffering many of these irreparable harms as it has
               12 already sold tickets for flights arriving at or departing from JWA in 2021 based on
               13 assurances from Defendants; has entered into agreements to fly routes that connect
               14 other cities to JWA; and has spent a significant amount of time and resources
               15 marketing to the traveling public who fly to or from JWA.
               16            112. JSX is not the only party negatively affected by the County’s illegal
               17 Restriction. A significant segment of the traveling public has spoken loudly and
               18 clearly that it prefers to travel on JSX as compared to alternative, more crowded
               19 modes of transportation. More than 5,500 travelers affirmatively contacted the
               20 Board as a result of the illegal Restriction and dozens appeared at the Board’s
               21 meeting on September 15, 2020, expressing that they prefer to fly on JSX.
               22 Defendants’ conduct harmed the County’s residents and the public.
               23                                LEGAL BACKGROUND
               24            113. Congress has preempted the field of aviation and air carrier regulation.
               25 This means that, inter alia, counties are not permitted to self-regulate the air
               26 transportation industry. Any effort to do so is invalid under the Supremacy Clause
               27 of the United States Constitution.
               28
COOLEY LLP
ATTORNEYS AT LAW                                               27
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 28 of 42 Page ID #:28




                   1         114.    Congress determined that preemption was necessary in order to,
                   2 among other things: encourage entry into the air transportation market by new
                   3 carriers; strengthen small air carriers to ensure a more effective and competitive
                   4 airline industry; ensure the availability of a variety of adequate, economic, efficient,
                   5 and low-priced services without unreasonable discrimination; and to prevent unfair,
                   6 deceptive, predatory, or anticompetitive practices in air transportation. See 49
                   7 U.S.C. § 40101.
                   8         115. The DOT and FAA are responsible for implementing, enforcing, and
                   9 overseeing Congress’ duly enacted aviation laws. The FAA regulates aviation
               10 safety and has done so by implementing federal regulations pertaining to every
               11 aspect of airport and aircraft operations. The DOT regulates economic aspects of
               12 the aviation industry. Together, the DOT and FAA have full authority to regulate
               13 the aviation industry.
               14            116. Congress has expressly preempted state and local governments from
               15 enacting or enforcing “a law, regulation, or other provision having the force and
               16 effect of law related to price, route, or service of an air carrier . . .” 49 U.S.C. §
               17 41713(b)(1).
               18            117. In so doing, Congress expressly wanted to avoid a patchwork of state
               19 and local regulations from unduly burdening interstate commerce. As a result,
               20 nearly all state and local laws, regulations, or other provisions having the force and
               21 effect of law that relate to the aviation industry are preempted and invalid.
               22            118. Congress allows for an extremely narrow exception to the otherwise
               23 wholesale preemption for local governments “carrying out [their] proprietary
               24 powers and rights” as airport sponsors. Id. § 41713(b)(3). If a local government
               25 seeks to regulate within this exception, its regulations must (i) conform with federal
               26 law and (ii) be otherwise reasonable, non-arbitrary, and non-discriminatory. Id.
               27            119. Local governments are expressly prohibited from unilaterally
               28
COOLEY LLP
ATTORNEYS AT LAW                                                28
   SAN DIEGO
                                    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 29 of 42 Page ID #:29




                   1 imposing regulations in this area absent FAA approval. In determining whether a
                   2 local regulation restricting access to a public airport meets the narrow exception,
                   3 the FAA has stated that such regulations must balance both local and federal
                   4 interests. The determination whether local regulations meet these requirements is
                   5 left to the sole province of the FAA.
                   6        120. Local restrictions that violate federal law or federal policy are per se
                   7 unreasonable and thus do not fit within the narrow “proprietary right” exception.
                   8 Airport Noise and Capacity Act (“ANCA”) Preemption
                   9        121. Congress’ most authoritative expression of intent regarding the extent
               10 of federal preemption in the area of access at public airports is the Airport Noise
               11 and Capacity Act (“ANCA”), 49 U.S.C. § 47521, et seq.
               12           122. ANCA was adopted after Congress determined that previous federal
               13 statutes and regulations were insufficient to ensure a uniform federal aviation policy
               14 regarding noise and airport access restrictions.
               15           123. ANCA, and the FAA’s regulatory scheme generally, classify aircraft
               16 into four “Stages” based on noise levels. Stage 1 aircraft emit the most noise, and
               17 Stage 4 aircraft emit the least, with Stage 2 and Stage 3 aircraft in between. JSX
               18 operates Stage 3 aircraft.
               19           124. Through ANCA, Congress explicitly sought to address the
               20 “uncoordinated and inconsistent restrictions on aviation that could impede the
               21 national air transportation system[.]” 49 U.S.C. § 47521(2). Because Congress
               22 recognized that local airport sponsors may seek to control access to airports within
               23 their jurisdictions, Congress expressly found that access restrictions to public
               24 airports “must be carried out at the national level.” Id. § 47521(3)-(4). This is
               25 express preemption in the field of access to public airports and aircraft noise.
               26           125. The FAA has promulgated extensive regulations, published at 14
               27 C.F.R. § 161 (“Part 161”), which create a uniform process for airport sponsors to
               28
COOLEY LLP
ATTORNEYS AT LAW                                              29
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 30 of 42 Page ID #:30




                   1 seek permission to introduce access restrictions at airports.
                   2         126. ANCA prohibits airport sponsors from imposing regulations that
                   3 restrict a Stage 3 aircraft’s ability to access a public airport unless the sponsor
                   4 complies with Part 161 and the FAA grants permission.
                   5         127. To date, no airport has successfully obtained permission from the FAA
                   6 to impose an access restriction on Stage 3 aircraft via the Part 161 process or
                   7 otherwise.
                   8         128. Indeed, ANCA’s requirements for enacting access restrictions for
                   9 Stage 3 aircraft are remarkably stringent. Proprietors must obtain, inter alia, (i)
               10 FAA approval for the restriction or (ii) the unanimous consent of all aircraft
               11 operators affected by the restriction. 49 U.S.C. § 47524(c)(1).
               12            129. Federal courts and the FAA have both interpreted § 47524 as a
               13 requirement that all public airports comply with Part 161 before any access
               14 restriction affecting a Stage 3 aircraft can be enforced. See 14 C.F.R. §§ 161.101,
               15 161.301(c).
               16            130. Defendants have not sought nor obtained FAA approval for the access
               17 restriction contained in the Restriction.
               18            131. Defendants have also failed to obtain unanimous consent of all
               19 operators (as evidenced by this lawsuit).
               20            132. Moreover, even assuming that Defendants attempted to meet Part
               21 161’s strictures, they would have had to demonstrate to the FAA, among other
               22 things, that the Restriction: (i) is reasonable, non-arbitrary and non-discriminatory;
               23 (ii) does not create an unreasonable burden on interstate or foreign commerce; (iii)
               24 is consistent with maintaining the safe and efficient use of navigable airspace; (iv)
               25 does not conflict with a law or regulation of the United States; (v) has received
               26 adequate opportunity for public comment; and (vi) does not create an unreasonable
               27 burden on the national aviation system. 49 U.S.C. § 47524(c)(2).
               28
COOLEY LLP
ATTORNEYS AT LAW                                               30
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 31 of 42 Page ID #:31




                   1         133. Every one of the showings required to gain FAA approval are absent
                   2 in Defendants’ decision to unilaterally impose an access restriction through the
                   3 Restriction.
                   4         134. Specifically, Defendants: (i) intentionally drafted the Restriction to
                   5 arbitrarily discriminate against JSX and prohibit JSX from accessing the Airport;
                   6 (ii) drafted the Restriction to prevent JSX from providing routes and services at both
                   7 JWA and each of the cities to which JSX departed from or flew to from JWA (e.g.,
                   8 Las Vegas) which unreasonably burdens interstate commerce; (iii) enacted the
                   9 Restriction for reasons unrelated to maintaining the safe and efficient use of
               10 navigable airspace given that JSX has an impeccable safety record and no incidents
               11 or accidents at JWA or anywhere else; (iv) acted contrary to and in express conflict
               12 with ANCA, the Airline Deregulation Act (see infra), and the Equal Protection
               13 Clause of the Constitution; (v) entirely ignored the widespread public response to
               14 the Board’s decision to ban JSX from operating at the Airport (e.g., 5,500 emails
               15 sent to the Board in opposition in a 48-hour time period related to the Board’s
               16 approval of the Leases); and (vi) unreasonably burdened the national aviation
               17 system by creating an unlawful and preempted local regulation that prohibits JSX
               18 from operating at JWA.
               19            135. The proper avenue for establishing that a local regulation meets the
               20 requirements of ANCA is through the Part 161 process, not through the
               21 deliberations of local governmental bodies.            In other words, the County’s
               22 deliberations are expressly insufficient to justify an access restriction—that is
               23 precisely what Congress was preventing by enacting ANCA. 49 U.S.C. § 47521(2).
               24            136. The County cannot circumvent ANCA’s requirements or the FAA’s
               25 processes to impose access restrictions on Stage 3 aircraft. FAA procedures are
               26 mandatory and comprehensive, and local attempts to regulate access that are not
               27 enacted in compliance with Part 161 are federally preempted.
               28
COOLEY LLP
ATTORNEYS AT LAW                                               31
   SAN DIEGO
                                    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 32 of 42 Page ID #:32




                   1        137. On information and belief, Defendants have not successfully
                   2 completed the Part 161 process and thus the Restriction is invalid and preempted by
                   3 ANCA.
                   4        138. In sum, Defendants violated ANCA (and its implementing regulations)
                   5 by imposing the Restriction that forbids JSX from operating at JWA.
                   6        139. Furthermore, Defendants’ unlawful and unconstitutional adoption of
                   7 the Restriction was intentional. Defendants were fully aware that any access
                   8 restriction imposed by the Restriction was subject to ANCA’s processes and thus
                   9 subject to preemption.
               10           140. For example, at the September 15, 2020, public meeting where the
               11 County adopted the Restriction, Orange County Counsel Leon Page advised the
               12 Board that “when the Board is deliberating over these leases there are two . . .
               13 provisions of federal law … that we are mindful of . . . [One] source of federal law
               14 is found in ANCA . . . and that generally [] limits the County from taking action to
               15 regulate noise.” Counsel Page went on to describe the process for adopting local
               16 regulations such as the one embodied in the Restriction as “a very strict, very
               17 stringent FAA approval process.”13
               18           141. Defendants’ adoption of the Restriction was also blatantly in favor of
               19 a more politically favorable group (e.g., large, traditional airlines who operate
               20 pursuant to Part 121), unreasonable, and discriminatory. Among other things, by
               21 eliminating JSX from JWA, Defendants freed up additional customer capacity that
               22 can be reallocated to the major air carriers. Defendants also protected the major air
               23 carriers, including (but not limited to) Southwest, Spirit, and Frontier, from
               24 competing with JSX’s unique (and preferred) method of traveling to and from JWA
               25 on many of the same routes served by such major air carriers.
               26
               27
                      https://ocgov.granicus.com/player/clip/3785?view_id=8&redirect=true
                       13
                                                                                                    (last
              28 accessed November 27, 2020).
COOLEY    LLP
ATTORNEYS AT LAW                                         32
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 33 of 42 Page ID #:33




                   1         142. The Restriction is further unreasonable because it interferes with
                   2 Congress’ stated goals in enacting ANCA and begin the expressly disallowed
                   3 process of localities creating a patchwork of regulations.
                   4 Airline Deregulation Act (“ADA”) Preemption
                   5         143. Under the ADA, 49 U.S.C. § 41713(b)(1), “a State, political
                   6 subdivision of a State, or political authority of at least 2 States may not enact or
                   7 enforce a law, regulation, or other provision having the force and effect of law
                   8 related to a price, route, or service of an air carrier.”
                   9         144. A state or local law is “related to” a price, route or service if it has “[1]
               10 a connection with, or [2] reference to” a price, route, or service. American Airlines
               11 v. Wolen, 513 U.S. 219, 223 (1995); Air Transport Ass’n of Am. v. City & Cty. Of
               12 San Francisco, 266 F.3d 1064, 1070-71 (9th Cir. 2001).
               13            145. ADA “services” “refers to such things as the frequency and scheduling
               14 of transportation, and to the selection of markets to or from which transportation is
               15 provided.” Air Transport Ass’n, 266 F.3d at 1070-71.
               16            146. ADA “rates” and “routes” generally refer to the point-to-point
               17 transport of customers. “Rates” indicates price; “routes” refer to courses of travel.
               18 Id.
               19            147. The only exception to the ADA’s broad and explicit preemptive effect
               20 is that the ADA “does not limit a State, political subdivision of a State, or political
               21 authority of at least 2 States that owns or operates an airport served by an air carrier
               22 holding a certificate issued by the Secretary of Transportation from carrying out its
               23 proprietary powers and rights.” 49 U.S.C.A. § 41713(b)(3). This is known as the
               24 “proprietary right exception” and it is very narrowly interpreted.
               25            148. Under this narrow exception, a local government’s exercise of its
               26 proprietary powers must be reasonable, nondiscriminatory, nonburdensome to
               27 interstate commerce, and designed not to conflict with the ADA and its policies.
               28
COOLEY LLP
ATTORNEYS AT LAW                                                 33
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 34 of 42 Page ID #:34




                   1         149. The validity of any local regulation therefore depends on (1) whether
                   2 the regulation “is related to a price, route, or service of an air carrier”; (2) if so,
                   3 whether regulation amounts to an exercise of its propriety powers; and (3) if it is an
                   4 exercise of proprietary powers, whether such exercise is reasonable,
                   5 nondiscriminatory, nonburdensome and not in conflict with the ADA. If all these
                   6 showings are met, the local regulation is exempted from preemption by 49 U.S.C.
                   7 § 41713(b)(3).
                   8         150. Here, the Restriction: (1) prohibits JSX from providing certain routes
                   9 (e.g., no city pairings with JWA are permitted, despite them being permissible under
               10 federal law) and certain services (e.g., customer service to and from JWA are
               11 eliminated); (2) is a flawed attempt by Defendants to exercise their proprietary
               12 powers (as any other explanation would not even arguably justify them); and (3) is
               13 unreasonable (they target a safe operator, JSX, for no reason), discriminatory (they
               14 single out JSX), and burdensome (they irreparably harm JSX, JSX’s employees
               15 based at JWA, and the traveling public who prefer JSX’s unique business model
               16 and socially distanced travel experience).
               17            151. Under the ADA, Defendants cannot lawfully impose or enforce the
               18 Restriction as it constitutes a regulation related to JSX’s rates, routes, and services.
               19            152. Because the Restriction is arbitrary, discriminatory, and burdensome it
               20 is per se preempted under the ADA.
               21 / / /
               22 / / /
               23 / / /
               24 / / /
               25 / / /
               26
               27
               28
COOLEY LLP
ATTORNEYS AT LAW                                                34
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 35 of 42 Page ID #:35




                   1                             CLAIMS FOR RELIEF
                   2                            FIRST CAUSE OF ACTION
                   3    The Restriction Is Preempted by Federal Law and Violates the Supremacy
                                         Clause of the U.S. Constitution – ANCA
                   4                           (49 U.S.C. §§ 47521-47534)
                                                (Against all Defendants)
                   5
                   6        153. Plaintiffs incorporate paragraphs 1 through 152 as though fully set
                   7 forth herein.
                   8        154.     The Supremacy Clause of the U.S. Constitution provides that the
                   9 “Constitution, and the laws of the United States which shall be made in pursuance
               10 thereof . . . shall be the supreme law of the land; and the judges in every state shall
               11 be bound thereby, anything in the Constitution or laws of any State to the contrary
               12 notwithstanding.” U.S. Const., art. VI.
               13           155. Under the Supremacy Clause, local regulations which run contrary to
               14 federal law are preempted, and thus invalid and unenforceable.
               15           156. Defendants’ adoption of the Restriction is contrary to and interferes
               16 with federal law, including but not limited to ANCA.
               17           157. The adoption of the Restriction constitutes an access restriction for
               18 JSX’s Stage 3 aircraft.
               19           158. Defendants did not comply with Part 161.
               20           159. All air carriers present at JWA did not unanimously consent to the new
               21 mandatory Restriction.
               22           160. The adoption of the Restriction is not an action which falls within the
               23 narrow proprietary right exception because, among other reasons, Defendants
               24 purposefully acted in violation of federal law by intentionally discriminating against
               25 JSX.
               26           161. The adoption of the Restriction was unreasonable, arbitrary, and
               27 discriminatory.
               28
COOLEY LLP
ATTORNEYS AT LAW                                             35
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 36 of 42 Page ID #:36




                   1         162. The adoption of the Restriction was per se unreasonable and unlawful
                   2 as Defendants took this action in violation of federal law.
                   3         163. The adoption of the Restriction is preempted by federal law.
                   4         164. The adoption of the Restriction violates the Supremacy Clause of the
                   5 U.S. Constitution.
                   6         165. Moreover, the Restriction constitutes an access restriction that did not
                   7 exist prior to the passage of ANCA. Indeed, Stage 3 on-demand carriers were able
                   8 to operate out of JWA’s FBOs prior to the enactment of ANCA (and in fact can still
                   9 operate out of JWA’s FBOs until January 1, 2021).
               10            166. The Restriction violates ANCA and JWA’s Access Plan must be
               11 amended or eliminated as a result of this ANCA violation.
               12            167. As a result of Defendants’ unconstitutional conduct, JSX seeks both
               13 preliminary and permanent injunctive relief prohibiting Defendants from enforcing
               14 the Restriction or otherwise banning JSX from operating at JWA as of January 1,
               15 2021.
               16            168. JSX also seeks declaratory relief that makes clear that Defendants
               17 cannot prohibit JSX’s operations through local law, regulation, or other provision
               18 having the force of law.
               19            169. JSX specifically seeks an injunction preventing Defendants from
               20 enforcing the Restriction and a declaration that the Restriction is invalid under
               21 ANCA.
               22            170. JSX also seeks a declaration that JWA’s Access Plan is invalid and
               23 rendered nugatory due to the unlawful access restrictions set forth in the Restriction
               24 in violation of ANCA.
               25 / / /
               26 / / /
               27 / / /
               28
COOLEY LLP
ATTORNEYS AT LAW                                               36
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 37 of 42 Page ID #:37




                   1                             SECOND CAUSE OF ACTION
                   2     The Restriction Is Preempted by Federal Law and Violates the Supremacy
                                           Clause of the U.S. Constitution – ADA
                   3                             (49 U.S.C. §§ 1371 et seq.)
                   4                              (Against all Defendants)
                            171. Plaintiffs incorporate paragraphs 1 through 152 as though fully set
                   5
                       forth herein.
                   6
                             172.      The Supremacy Clause of the U.S. Constitution provides that the
                   7
                       “Constitution, and the laws of the United States which shall be made in pursuance
                   8
                       thereof . . . shall be the supreme law of the land; and the judges in every state shall
                   9
                       be bound thereby, anything in the Constitution or laws of any State to the contrary
               10
                       notwithstanding.” U.S. Const., art. VI.
               11
                             173. Under the Supremacy Clause, local regulations which run contrary to
               12
                       federal law are preempted, and thus invalid and unenforceable.
               13
                             174. Defendants’ adoption of the Restriction is contrary to and interferes
               14
                       with federal law, including but not limited to the ADA.
               15
                             175. The adoption of the Restriction constitutes a regulation affecting the
               16
                       “rates, routes, and services” of JSX.
               17
                             176. The Restriction prevents JSX from flying certain routes (e.g., it
               18
                       prohibits any flight to or from JWA).
               19
                             177. The Restriction also prevents JSX from offering aeronautical services
               20
                       (e.g., it prohibits any customer services at JWA).
               21
                             178. The adoption of the Restriction is not an action which falls within the
               22
                       narrow proprietary right exception, as the adoption of the Restriction was
               23
                       unreasonable, arbitrary, and discriminatory.
               24
                             179. JSX has operated safely at JWA for years and has an impeccable safety
               25
                       record.
               26
                             180. JSX operates the quietest fleet of commercial aircraft at JWA.
               27
                             181. JSX was singled out by the Restriction as acknowledged by Mr.
               28
COOLEY LLP
ATTORNEYS AT LAW                                                 37
   SAN DIEGO
                                    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 38 of 42 Page ID #:38




                   1 Rondinella.
                   2         182. Defendants’ decision to target JSX is arbitrary and unconstitutional.
                   3         183. The adoption of the Restriction was per se unreasonable and unlawful
                   4 as Defendants took this action in violation of federal law.
                   5         184. The adoption of the Restriction violates the Supremacy Clause of the
                   6 U.S. Constitution and is thus preempted and invalid.
                   7         185. Defendants’ unconstitutional and discriminatory conduct has harmed,
                   8 and will continue to harm, JSX irreparably by causing a substantial loss of business,
                   9 damaging JSX’s business reputation and goodwill, and putting JSX at a significant
               10 competitive disadvantage to other carriers operating at JWA.
               11            186. As a result of Defendants’ unconstitutional conduct, JSX seeks both
               12 preliminary and permanent injunctive relief prohibiting Defendants from enforcing
               13 the Restriction or otherwise banning JSX from operating at JWA as of January 1,
               14 2021.
               15            187. JSX also seeks declaratory relief that makes clear that Defendants
               16 cannot prohibit JSX’s operations through local law, regulation, or other provision
               17 having the force of law.
               18            188. JSX specifically seeks an injunction preventing Defendants from
               19 enforcing the Restriction and a declaration that the Restriction is invalid under the
               20 ADA.
               21                               THIRD CAUSE OF ACTION
               22                             Deprivation of Equal Protection –
                                      U.S. Const. Amend. XIV and 42 U.S.C. § 1983
               23                                  (Against all Defendants)
               24            189. Plaintiffs incorporate paragraphs 1 through 152 as though fully set
               25 forth herein.
               26            190. The Equal Protection Clause of the Fourteenth Amendment,
               27 enforceable pursuant to 42 U.S.C. § 1983, provides that no state shall “deny to any
               28
COOLEY LLP
ATTORNEYS AT LAW                                               38
   SAN DIEGO
                                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 39 of 42 Page ID #:39




                   1 person within its jurisdiction the equal protection of the laws.” U.S. Const. amend.
                   2 XIV, § 1.
                   3           191. Defendant Mr. Rondinella is a “person” within the meaning of 42
                   4 U.S.C. § 1983 and acting under color of state law as to the allegations in this
                   5 Complaint, including the following deprivation of Plaintiffs’ equal protection
                   6 rights.
                   7           192. Defendant County is a “person” within the meaning of 42 U.S.C. §
                   8 1983 and acting under color of state law as to the allegations in this Complaint,
                   9 including the following deprivation of Plaintiffs’ equal protection rights. The
               10 County has mandated and officially adopted a policy, ordinance, regulation and/or
               11 decision that violates the Equal Protection Clause of the Fourteenth Amendment to
               12 the U.S. Constitution.
               13              193. Defendants’ adoption of the Restriction singled out JSX for
               14 discriminatory treatment in violation of the Equal Protection Clause.                   The
               15 Restriction does not prohibit the operations of any other on-demand carrier. JSX is
               16 the only Part 135 operator prohibited from accessing the FBOs at JWA.
               17              194. Defendants have no legitimate justification or rational basis for
               18 instituting the new Restriction other than to discriminate against JSX and prohibit
               19 it from operating at JWA.
               20              195. Defendants intentionally treated JSX differently than any other
               21 operator at the Airport.
               22              196. The Restriction is not rationally related to any legitimate state interest.
               23 Rather, Defendants acted irrationally and arbitrarily with the sole intent of
               24 discriminating against JSX and preventing it from operating at JWA.
               25              197. Defendants intentionally discriminated against JSX, in whole or in
               26 part, for the illegitimate purpose of showing political favoritism to the larger Part
               27 121 carriers utilizing JWA to the detriment of JSX.
               28
COOLEY LLP
ATTORNEYS AT LAW                                                  39
   SAN DIEGO
                                    COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 40 of 42 Page ID #:40




                   1         198. Defendants’ adoption of the discriminatory Restriction, without any
                   2 rational basis, violates the Equal Protection Clause of the Fourteenth Amendment
                   3 to the United States Constitution.
                   4         199. Defendants’ unconstitutional and discriminatory conduct has harmed,
                   5 and will continue to harm, JSX irreparably by causing a substantial loss of business,
                   6 damaging JSX’s business reputation and goodwill, and putting JSX at a significant
                   7 competitive disadvantage to other carriers operating at JWA.
                   8         200. JSX was irreparably harmed by Defendants’ unconstitutional and
                   9 discriminatory conduct because its constitutional rights have been infringed.
               10            201. As a result of Defendants’ unconstitutional conduct, JSX seeks a
               11 declaratory       judgment     declaring   that   Defendants’    new    Restriction   is
               12 unconstitutional, and that Defendants are not permitted to prohibit JSX from
               13 operating at JWA.
               14            202. As a result of Defendants’ unconstitutional conduct, JSX seeks both
               15 preliminary and permanent injunctive relief prohibiting Defendants from enforcing
               16 the Restriction or otherwise banning JSX from operating at JSW as of January 1,
               17 2021.
               18            203. JSX also seeks attorneys’ fees as permitted by 42 U.S.C. § 1988.
               19                                PRAYER FOR RELIEF
               20            WHEREFORE, Plaintiffs respectfully request that this Court enter an order
               21 and judgment:
               22            A.    Declaring that the County must provide an accommodation to Plaintiffs
               23                  that grants them access to the Airport on reasonable and non-
               24                  discriminatory terms;
               25            B.    Enjoining Defendants and any party in privity of contract with
               26                  Defendants from imposing or enforcing the Restriction or otherwise
               27                  imposing or enforcing any law, regulation, or other provision having
               28
COOLEY LLP
ATTORNEYS AT LAW                                               40
   SAN DIEGO
                                  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 41 of 42 Page ID #:41




                   1             the force and effect of law which restricts JSX’s access to JWA, or
                   2             affects JSX’s ability to offer federally authorized rates, routes, and
                   3             services at JWA;
                   4      C.     Waiving the requirement for the posting of a bond as security for entry
                   5             of temporary or preliminary injunctive relief;
                   6      D.     Awarding Plaintiffs their costs, expenses, and reasonable attorneys’
                   7             fees pursuant to 42 U.S.C. § 1988 and other applicable laws; and
                   8      E.     Granting such other and further relief as the Court deems just and
                   9             proper.
               10
               11                             DEMAND FOR JURY TRIAL
               12         Plaintiffs hereby demand a trial by jury on all claims triable by a jury, pursuant
               13 to Federal Rules of Civil Procedure, Rule 38, and Central District of California Local
               14 Rules, Rule 38-1.
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25
               26
               27
               28
COOLEY LLP
ATTORNEYS AT LAW                                              41
   SAN DIEGO
                                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 8:20-cv-02344-JLS-KES Document 1 Filed 12/14/20 Page 42 of 42 Page ID #:42




                   1 Dated: December 14, 2020   Respectfully submitted,
                   2
                                                By: __/s/ William V. O’Connor__________
                   3                                  William V. O’Connor
                   4                            BRIDGFORD, GLEASON & ARTINIAN
                   5                            Richard K. Bridgford (CA SBN 119554)
                                                Richard.Bridgford@Bridgfordlaw.com
                   6                            Michael H. Artinian (CA SBN 203443)
                                                Mike.Artinian@Bridgfordlaw.com
                   7
                                                26 Corporate Plaza, Suite 250
                   8                            Newport Beach, CA 92660
                                                Telephone: (949) 831-6611
                   9                            Facsimile: (949) 831-6622
               10
                                                COOLEY LLP
               11                               William V. O'Connor (CA SBN 216650)
                                                woconnor@cooley.com
               12
                                                4401 Eastgate Mall
               13                               San Diego, California 92121-1909
                                                Telephone: (858) 550-6000
               14                               Facsimile: (858) 550-6420
               15
                                                COOLEY LLP
               16                               J. Parker Erkmann (Pro hac vice to be filed)
                                                perkmann@cooley.com
               17
                                                1299 Pennsylvania Avenue, NW, Ste. 700
               18                               Washington, DC 20004-2400
                                                Telephone: (202) 776-2036
               19                               Facsimile: (202) 842-7899
               20
                                                Attorneys for Plaintiffs
               21                               Delux Public Charter, LLC d/b/a JSX Air and
                                                JetSuiteX, Inc.
               22
               23
               24
               25
               26
               27
               28
COOLEY LLP
ATTORNEYS AT LAW                                        42
   SAN DIEGO
                                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
